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Exhibit J
(Affidavit of J. Marvin)

 
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UNITED STATES DISTRICT COURT

DISTRICT OF MAINE
BRYAN REPETTO, }
Plaintiff,

¥. Civil Action No. 08-CV-101
ST. MATTHEW'S UNIVERSITY, INC., and
ST. MATTHEW'S UNIVERSITY (CAYMAN) LTD. )
Defendants.

AFFIDAVIT OF JOHN MARVIN

i, John Marvin, state as follows:
i. lam the Chancellor of St. Matthew's University School of Medicine (“SMU”). |
have personal knowledge of the matters set forth herein, either as a result of my direct
knowledge or as a result of reviewing documents made and kept by SMU.

Z. SMU] is owned by St. Matthew's University (Cayman) Lid. (SMU Cayman”).
3. SMU Cayman is a subsidiary of St. Matthew's University, Inc. (SMU, Inc.”).
4 The foregoing statements are true to the best of my knowledge and belief.

Subscribed and sworn to under the pains and
penalties of perjury.

FA» Vian

Johe’ Marvin

October 3O, 2008

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